                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

UNITED STATES OF AMERICA,                    §
                                             §
v.                                           §
                                             §            EP-20-CR-00389-DCG
PATRICK WOOD CRUSIUS,                        §
                                             §
              Defendant.                     §

                            ORDER RESETTING HEARING
       The Court RESETS Defendant Patrick Wood Crusius’s rearraignment hearing to

February 8, 2023 at 2:00 p.m. in Courtroom Number 812 on the Eighth Floor of the United

States Courthouse, 525 Magoffin Avenue, El Paso, Texas.

       So ORDERED and SIGNED this 1st day of February 2023.




                                              DAVID C. GUADERRAMA
                                              UNITED STATES DISTRICT JUDGE
